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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.:

 MOISES LANTIGUA,

                 Plaintiff,

 vs.

 GROUNDED FOR LIFE, INC.,
 a Florida corporation, and STACEY
 DAVIS, individually,

             Defendants.
 ________________________________________/

                                           COMPLAINT

         Plaintiff, MOISES LANTIGUA, by and through his undersigned counsel, sues the

 Defendants, GROUNDED FOR LIFE, INC., (hereinafter, “Company”), and STACEY DAVIS,

 individually, (hereinafter, collectively referred to as “Defendants”) and alleges as follows:

         1.      Plaintiff, a former employee of the Defendants, brings this action to recover

 compensation and other relief under the Fair Labor Standards Act, as amended (the "FLSA"), 29

 U.S.C. § 201 et seq.

         2.      Jurisdiction is conferred on this Court by 29 U.S.C. § 216(b).

         3.      The unlawful employment practices alleged herein occurred and/or was committed

 within this judicial district.

         4.      At all times material hereto, Plaintiff is/was a resident of this judicial district,

 employee of the Defendants, sui juris and otherwise within the jurisdiction of this Court.
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        5.      At all times material hereto, Defendant, Company, was the employer or former

 employer of the Plaintiff and are conducting business in this judicial district and is otherwise an

 ‘employer’ under the FLSA.

        6.      That at all times material hereto, Defendant, STACEY DAVIS, individually, acted

 directly in the interests of her employer, the Defendant, Company, in relation to the Plaintiff, and

 this individual Defendant exercised the requisite legal control and otherwise administered the illegal

 acts as described herein on behalf of the Defendant, Company, and is otherwise an ‘employer’ under

 the FLSA.

        7.      At all times material hereto, Defendants were and continue to be an ‘enterprise

 engaged in commerce’ within the meaning of the FLSA.

        8.      That at all times material hereto, Plaintiff were ‘engaged in commerce’ within the

 meaning of the FLSA.

        9.      The Plaintiff was a non-exempt employee working solely for the Defendants.

        10.     During his employment, the Defendants intentionally required the Plaintiff, a non-

 exempt employee under the FLSA, to work in excess of forty (40) hours per work week, but

 willfully refused to properly compensate Plaintiff for such work in violation of the FLSA.

        11.     Plaintiff was hired in September of 2018 as a delivery driver and was informed that

 he was needed to work 6 days per week.

        12.     Plaintiff worked Monday through Friday from 8 am to 3-4 pm, and on Saturdays

 Plaintiff would work from 8 am to 7 pm.

        13.     Plaintiff was paid on a salary basis for $750.00 per week that did not compensate him

 for overtime worked.



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          14.    Moreover, the Saturday work should have required two employees, yet Plaintiff was

 the only one there, making it even more difficult.

          15.    Eventually, Plaintiff informed Defendants that he was no longer willing to work on

 Saturday any longer, as he was not being paid for this time properly.

          16.    The response was that it was mandatory and when Plaintiff stood by his complaint, he

 was informed that he was to bring in his uniform.

          17.    All records concerning the number of hours actually worked by Plaintiff are

 presumably in the exclusive possession and sole custody and control of the Defendants, and

 therefore, Plaintiff are unable to state at this time the exact amount due. Moreover, through pre-suit

 negotiations, Defendants admitted that Plaintiff was not paid proper overtime and even began to send

 Plaintiff checks for unpaid overtime that it realized was owed.

          18.    As a result, it has made Plaintiff’s attempts to calculate a specific number to be

 challenging. Plaintiff, however, will exert diligent efforts to obtain such information by appropriate

 discovery proceedings, to be taken promptly in this case, and if required, an amendment to this

 Complaint will be submitted to set forth an amount due by the Plaintiff.

                                            COUNT I
                                         FLSA - COMPANY

          Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 18

 above.

          19.    Plaintiff is entitled to time and one half for each hour worked in excess of forty (40)

 hours per work week pursuant to the FLSA.

          20.    By reason of the intentional, willful and unlawful acts of the Defendant, Company in

 violation of the FLSA, Plaintiff has suffered damages.


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         WHEREFORE, Plaintiff demand judgment against the Defendant, Company for all

 damages and relief under the FLSA, including liquidated damages (and/or pre-judgment interest),

 attorneys’ fees, costs and expenses, in addition to all other relief this Court deems just and proper.

                                           COUNT II
                                      FLSA–STACEY DAVIS

         Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 18 of

 this Complaint.

         21.    Plaintiff is entitled to time and one half for each hour worked in excess of forty (40)

 hours per work week pursuant to the FLSA.

         22.    By reason of the intentional, willful and unlawful acts of the Defendant, STACEY

 DAVIS in violation of the FLSA, Plaintiff has suffered damages.

         WHEREFORE, Plaintiff demand judgment against the Defendant, STACEY DAVIS for all

 damages and relief under the FLSA, including liquidated damages (and/or pre-judgment interest),

 attorneys’ fees, costs and expenses, in addition to all other relief this Court deems just and proper.

                                        COUNT III
                               FLSA--RETALIATION-COMPANY

         Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 18 of

 this Complaint.

         23.    That Plaintiff complained to the Defendant, Company, concerning violations of the

 FLSA.

         24.    That, as a result of the Plaintiff’s complaints, the Defendant, Company, intentionally,

 willfully and unlawfully retaliated against Plaintiff, in violation of the FLSA, by terminating his

 employment.

         25.    That the Defendant, Company’s decisions to adversely affect the Plaintiff was both

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 connected to, and in response to the Plaintiff’ complaints.

        26.     The Plaintiff is entitled to an award of reasonable attorney's fees, expert fees, costs

 and expenses related to this litigation.

        WHEREFORE, Plaintiff demand judgment against the Defendant, Company for all

 damages and relief under the FLSA, attorneys’ fees, costs and expenses, in addition to all other relief

 this Court deems just and proper.

                                          COUNT IV
                                  FLSA--RETALIATION-DAVIS

        Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 18 of

 this Complaint.

        27.     That Plaintiff complained to the Defendant, STACEY DAVIS, concerning violations

 of the FLSA.

        28.     That, as a result of the Plaintiff’s complaints, the Defendant, STACEY DAVIS,

 intentionally, willfully and unlawfully retaliated against Plaintiff, in violation of the FLSA, by

 terminating his employment.

        29.     That the Defendant, STACEY DAVIS’ decisions to adversely affect the Plaintiff was

 both connected to, and in response to the Plaintiff’ complaints.

        30.     The Plaintiff is entitled to an award of reasonable attorney's fees, expert fees, costs

 and expenses related to this litigation.

        WHEREFORE, Plaintiff demand judgment against the Defendant, STACEY DAVIS, for all

 damages and relief under the FLSA, attorneys’ fees, costs and expenses, in addition to all other relief

 this Court deems just and proper.

                                       DEMAND FOR JURY TRIAL


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       Plaintiff demands a trial by jury on all counts.

       Dated: August 9, 2019.                         Respectfully submitted,

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